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UNITED sTATEs DIsTRICT COURT ` " J'
WESTERN DIsTRICT 0F TENNESSEE 955 JU:`-l 15 Ptt 3' lie
Western Division ‘ l

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UNITED STATES OF AMERICA `_`&;_ ,!#.ml `"}!`: .m‘ E;;EMP;_HIS
-vs- Case No. 2:94cr20276-2-B

SHEREE MCKINLEY

 

ORDER REVOK|NG BOND
ln accordance With the Bail Reform Act, 18 U.S.C. § 3142(1), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECT|ONS REGARD|NG DETENT|ON

SHEREE MCKINLEY is committed to the custody of the Attorney General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
orbeing held in custody pending appeal. SHEREE MCKINLEY shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge ofthe corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

r)are; June 15, 2005 … /“--»-

‘rU M. PHAM
UNITED sTATEs MAGISTRATE JUDGE

 

this document entered on the docket sheet in compliance
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UNITED sTEATS DSTIRIC COURT - WESTERN DISITRCT 0 TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 213 in
case 2:94-CR-20276 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

